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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK


ABRAHAM “AVI” MIRMAN,                                       Civil Action No. ______________

                      Plaintiff,

       v.                                                                 COMPLAINT

EXECUTIVE RISK INDEMNITY, INC.
                                                                  JURY TRIAL DEMANDED
                      Defendant.



       Plaintiff Abraham “Avi” Mirman (“Mirman”), by and through its undersigned counsel, for

its Complaint against Defendant Executive Risk Indemnity, Inc. (“Executive Risk” or “Defendant”),

alleges as follows:

                                   PRELIMINARY STATEMENT

       1.       This is an action for damages for breach of contract as well as for declaratory relief

arising out of Defendant’s repudiation and breach of its obligations under a directors and officers

liability policy, Policy Number 8210-809, issued to John Thomas Financial (“JTF”), a former New

York-based broker-dealer (the “Policy”) (attached hereto as Exhibit A). The Policy obligates

Defendant to defend and to pay for all losses incurred by Mirman in connection with an

investigation by the Securities and Exchange Commission (“SEC”) that culminated in a lawsuit

filed by the SEC against Mirman captioned SEC v. Robert Donald Bruce Genovese, et al., 1:17-cv-

05821, in the Southern District of New York (the “SEC Action”).

       2.       The SEC Action Complaint generally alleges that Mirman negotiated a loan from

B.G. Capital Group, Ltd. (“BGC”) to JTF’s holding company at the same time that JTF’s retail

brokers and owner (Tommy Belesis) were promoting the sales of Liberty Silver Corporation’s
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(“LBSV”) shares to others. LBSV was a silver exploration company. The SEC Action Complaint

alleges that Mirman’s activities on behalf of JTF (obtaining a loan from Genovese and BGC) at the

same time that JTF’s brokers were promoting the sale of stock held by BGC to investors aided and

abetted a penny stock promotion, manipulation and unlawful distribution scheme involving the

stock of LBSV.

       3.       In direct violation of the terms of the Policy, Defendant has refused to defend or

indemnify Mirman in connection with the SEC Investigation and SEC Action.

       4.       Mirman seeks damages for Defendant’s breach of contract for refusing to comply

with its defense and indemnity obligations owed under the Policy and a declaration as to the

existence and scope of Defendant’s obligations to pay defense and indemnity expenses arising

from the SEC Investigation and SEC Action.

                                          THE PARTIES

       5.       Plaintiff Mirman is a citizen of New York and at all relevant times was a

registered representative employed by JTF, and the head of JTF's Investment Banking

Department

       6.       Upon information and belief, Defendant Executive Risk is a Delaware corporation

with its principal place of business in New Jersey. Upon information and belief, Executive Risk

is authorized to sell or write insurance in New York and, at all material times, has conducted and

continues to conduct substantial insurance business in New York.

                                 JURISDICTION AND VENUE

       7.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(a). This action is between citizens of different States, and the amount in controversy

exceeds $75,000, exclusive of interest and costs.



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           8.       Venue is proper in the Southern District of New York pursuant to 28 U.S.C. §

1391(b) because a substantial part of the events giving rise to the claim occurred in the Southern

District of New York.

                                           FACTUAL BACKGROUND

     I.    THE INSURANCE POLICY

           9.       JTF purchased the Policy to insure JTF and its directors and officers for third-

party claims alleging wrongful conduct on the part of JTF’s directors, officers and employees.

           10.      The Policy, which was in effect from October 6, 2012 through October 6, 2013

(the “Policy Period”), provides $2 million in coverage plus an additional $500 thousand in

coverage for losses resulting from D&O Claims against Executives. 1

           11.      The Policy provides coverage for an Insured Person’s Loss resulting from a D&O

Claim first made against the Insured Person for any Wrongful Act of such Insured Person during

the Policy Period.

           12.      Under the Policy, “D&O Claim” includes, inter alia, “a civil proceeding

commenced by the service of a complaint or similar pleading” or “a formal administrative or

regulatory investigation commenced by the filing of a notice of charges, formal investigative

order or similar document[.]” “Loss” includes “damages, judgments, settlements, pre-judgment

interest and Defense Costs.” “Wrongful Act” means “any error, misstatement, misleading

statement, act, omission, neglect, or breach of duty committed, attempted, or allegedly

committed or attempted[.]”

           13.      Under the Policy, “Insured Person” means “any past, present or future Executive

or Employee of the Insured Organization.” The “Insured Organization” is “John Thomas

Financial” or its subsidiaries. “Employee” means “any natural person whose labor or service is
1
    Capitalized terms are defined in the Policy.

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engaged by and directed by the Insured Organization.” “Executive” means any natural person

who is a “duly elected or appointed director[], officer[], member[] of the Board of Managers or

management committee member[]” of JTF.

       14.     In addition to the duty to pay for Losses, which includes Defense Costs, the

Policy provides that the Defendant “shall have the right and duty to defend any Claim covered by

[the] Policy,” even if “any of the allegations are groundless, false, or fraudulent.”

       15.     Under the Allocation Provision in the Policy, even if a Claim includes both

covered and uncovered Losses, Defendant shall pay “100% of reasonable and necessary Defense

Costs incurred by such Insured from such a Claim[.]”

       16.     The Policy contains a provision that provides, inter alia, that “[a]ll Related

Claims will be treated as a single Claim made when the earliest of such Related Claims was first

made[.]” (the “Related Claims Provision”). “Related Claims” means “Claims for Wrongful Acts

based upon, arising from, or in consequence of the same or related facts, circumstances,

situations, transactions or events or the same or related series of facts, circumstances, situations,

transactions or events.”

       17.     The Policy contains two exclusions that the Defendant has identified as one of the

bases on which it refuses to pay Mirman’s claims. Exclusion (D)(6), amended through

Endorsement (the “Professional Services Exclusion”), states that “no coverage will be available .

. . . for any D&O Claim based upon, arising from, or in consequence of any actual or alleged

error, misstatement, misleading statement, act, omission, neglect, or breach of duty committed,

attempted or allegedly committed or attempted in connection with the rendering of, or actual or

alleged failure to render, any professional services for others by any person or entity otherwise




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entitled to coverage under the Coverage Section identified above.” The Policy does not define

“professional services.”

       18.       The second exclusion the Defendant has identified as a basis on which it refuses

to pay Mirman’s claim is Exclusion (A)(9) (the “Securities Claim Exclusion”), which excludes

coverage for any Claim “based upon, arising from, or in consequence of the actual or alleged

violation of any Securities Laws.” The Securities Claim Exclusion contains two exceptions,

one of which provides that the Securities Claim Exclusion shall not apply to any Claim “based

upon or arising out of the offering, sale or purchase of securities, whether debt or equity, in a

transaction or a series of transactions that are in fact in law exempt from registration under the

Securities Act of 1933 and any amendments thereto or any rules or regulations promulgated

thereunder[.]”

 II.   THE D&O CLAIMS AGAINST MIRMAN

       19.       In or about May 2013, Mirman, an Insured Person under the Policy, received a

Formal Order of Investigation from the SEC captioned In the Matter of Liberty Silver, NY-8844

(“SEC Investigation”). The SEC Investigation order indicates that LBSV’s shares may have

been involved in improper trading activity. The Formal Order references possible violations of

various federal securities laws in connection with such trading activity and attaches a subpoena

on Mirman seeking documents relating to LBSV.

       20.       On or about August 1, 2017, the SEC initiated the SEC Action against Genovese,

BGC and Mirman, arising out of the same facts which precipitated the SEC Investigation.

       21.       According to the Complaint filed in the SEC Action (attached hereto as Exhibit

B), Mirman was discussing having Genovese provide funds to JTF in the form of a loan or an

investment, and the SEC alleges that these discussions were improper while JTF brokers were



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selling LBSV stock or that the existence of these discussions between Genovese and Mirman

should have been disclosed by others at JTF to customers of JTF. The SEC goes on to allege that

Genovese and BGC engaged in a penny stock promotion, manipulation and unlawful distribution

scheme in the late summer and early fall of 2012 involving the stock of LBSV.

       22.     The theory of the SEC Action seems to be that Mirman’s actions on behalf of JTF

were inappropriate because they either should not have occurred while JTF brokers were selling

LBSV stock or should have been disclosed to potential purchasers of LBSV stock. The SEC Action

Complaint also alleges that Mirman participated in some way in an unlawful promotion of the

LBSV shares by introducing Genovese to JTF.

       23.     The SEC Action contained six claims for relief. The following three claims for

relief were specifically alleged against Mirman: 1) Claim One alleging violations of Sections

5(a) and 5(c) of the Securities Act, 15 U.S.C. §§ 77e(a) & (c); 2) Claim Five alleging violations

of Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 thereunder, 17 C.F.R.

§§ 240.10b-5, in violation of Section 20(e) of the Exchange Act, 15 U.S.C. § 78t(e); and 3)

Claim Six under Section 17(a)(1) and Section 17(a)(3) of the Securities Act, 15 U.S.C. §

77q(a)(1) & 77q(a)(3).

       24.     Sections 5(a) and 5(c) of the Securities Act, 15 U.S.C. §§ 77e(a) & (c), alleged

against Mirman in Claim Five of the SEC Action Complaint, generally prohibit the sale of

unregistered shares of stock to the public, unless an exemption applies. The SEC alleges that

Mirman failed to perform his duties to JTF, also an insured, because he failed to exercise due

care in connection with the preparation and issuance of a broker’s representation letter, or acted

with actual knowledge of the falsity of the letter when he executed it. The letter made certain

representations to the effect that Mirman was not aware of any facts that would have triggered



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the registration requirements of Section 5 and formed part of JTF’s records for selling BGC and

Genovese’s block of LBSV stock to the public without registration.

       25.     The SEC Action Complaint does not allege that Mirman acted as a broker with

respect to any customer of JTF, that he communicated or failed to communicate with any

customer, that he rendered or failed to render any services to any customer or that he was

retained to provide or provided professional services of any kind to any third party. Rather, for

purposes of this Complaint, the SEC Action Complaint alleges primarily that Mirman made an

introduction of Genovese, sought out investment capital for JTF and signed a Section 5 letter

during the course of his work as an employee of JTF.

       26.     Mirman has been actively defending against the SEC Action and has incurred

millions of dollars in defense costs.

III.   DEFENDANT’S REFUSAL TO DEFEND AND INDEMNIFY MIRMAN IN THE
       SEC INVESTIGATION AND SEC ACTION

       27.     Mirman timely notified Executive Risk of the SEC Investigation and SEC Action.

       28.     Executive Risk denied coverage for the SEC Investigation and SEC Action,

raising two defenses.

       29.     First, Defendant asserts that coverage is barred by the Professional Services

Exclusion.

       30.     However, the D&O Claims asserted in the SEC Action do not arise out of or in

any way relate to Mirman’s rendering of professional services.

       31.     Moreover, even if the allegations in the SEC Action against Mirman describe or

constitute professional services within the (undefined) meaning of the Policy, such professional

services were not performed “for others” as is required in order for the Professional Services




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Exclusion to apply. Specifically, the SEC Action Complaint contains explicit allegations that

Mirman wrongfully negotiated a loan to and for JTF, also insured under the Policy.

          32.   Second, Defendant asserts that they do not owe coverage to Mirman due to the

Securities Claim Exclusion.

          33.   However, the Securities Claim Exclusion does not bar coverage for the SEC

Investigation and SEC Action because the first exception to the Securities Claim Exclusion

applies. Specifically, the SEC merely alleges that the transactions at issue involved securities

that are “are in fact in law exempt from registration under the Securities Act of 1933.” Because

the Policy requires Executive Risk to defend Mirman against even “groundless, false, or

fraudulent” allegations, it cannot accept as true the SEC’s allegations in order to deny its duty to

defend.

          34.   To date, Defendant has not paid a single penny towards Mirman’s defense costs

incurred with regard to the SEC Investigation or the SEC Action.

                              FIRST CAUSE OF ACTION
                      (BREACH OF CONTRACT – DUTY TO DEFEND)

          35.   Mirman repeats and realleges the allegations set forth in paragraphs 1 through 34

of this Complaint as if fully set forth herein.

          36.   Pursuant to the terms of the Policy, Defendant is obligated to defend Mirman

from the SEC Investigation and SEC Action.

          37.   Defendant has breached its obligations under the Policy by failing to defend

Mirman in connection with the SEC Investigation and SEC Action.

          38.   Pursuant to the terms of the Policy, Defendant is obligated to pay Mirman’s

Losses, including 100% of the as-yet unreimbursed defense costs, incurred in connection with

the SEC Investigation and SEC Action, up to the limits of its Policy.

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          39.   Defendant has breached its obligations under the Policy by failing and refusing to

pay such losses.

          40.   Mirman has complied with all terms, conditions and prerequisites to coverage set

forth in the Policy.

          41.   As a result of the Defendant’s breach, Mirman has suffered damages in an amount

to be determined at trial.

                                 SECOND CAUSE OF ACTION
                                  (DECLARATORY RELIEF)

          42.   Mirman repeats and realleges the allegations set forth in paragraphs 1 through 41

of this Complaint as if fully set forth herein.

          43.   Pursuant to the terms of the Policy, Defendant is obligated to defend Mirman in

connection with the SEC Investigation and SEC Action.

          44.   Pursuant to the terms of the Policy, Defendant is also obligated to pay Mirman’s

losses, including 100% of the as-yet unreimbursed defense costs incurred in connection with the

SEC Investigation and SEC Action.

          45.   Upon information and belief, Defendant disputes its legal obligations to pay such

losses.

          46.   Mirman is entitled to a declaration by this Court of the Defendant’s obligations

under the Policy with regard to the SEC Investigation and SEC Action.

          47.   An actual controversy of a justiciable nature presently exists between Mirman and

the Defendant concerning the proper construction of the Policy, and the rights and obligations of

the parties thereto with respect to losses incurred in connection with the SEC Investigation and

SEC Action.




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           48.   The issuance of declaratory relief by this Court will terminate the existing

controversy among the parties.

           49.   Pursuant to 28 U.S.C. § 2201, the Court should enter a declaratory judgment in

favor of Mirman and against Defendant, declaring that Defendant is obligated to pay all of

Mirman’s defense costs incurred in connection with the SEC Investigation and SEC Action,

subject to the limits of the Policy.

                                       PRAYER FOR RELIEF

WHEREFORE, Mirman prays for relief as follows:

       i.        On the first cause of action, Mirman requests that the Court enter judgment

against Defendant awarding Mirman compensatory and consequential damages in an amount to

be determined in this action;

     ii.         On the second cause of action, Mirman requests that this Court enter a declaratory

judgment in favor of Mirman and against Defendant, declaring that Defendant is obligated to pay

Mirman, up to the applicable liability limit, for any as-yet unreimbursed losses incurred in

connection with the SEC Investigation and SEC Action;

     iii.        On all causes of action, Mirman requests that the Court award Mirman all costs

incurred as a consequence of having to prosecute this lawsuit, including attorneys’ fees, as well

as prejudgment and post-judgment interest; and

     iv.         Additionally, Mirman requests such other and further relief as the Court deems

just and proper.




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                                     JURY DEMAND

      Demand for Trial by Jury is hereby made on all matters so triable.

Dated: New York, New York.                      MCKOOL SMITH, P.C.
February 16, 2018
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